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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF CONNECTICUT

CONSTANCE BAGLEY

Plaintiff : CIVIL ACTION NO.::

3:13 CV 1890 (CSH)

VS.
YALE UNIVERSITY, DOUGLAS RAE,
EDWARD SNYDER and ANDREW :
METRICK, Individually : January 17, 2017

Defendants

STIPULATION OF DISMISSAL
Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii), Plaintiff Constance Bagley and Defendants
Douglas Rae, Edward Snyder and Andrew Metrick hereby notify the Court that, pursuant to an
agreement among the parties, they hereby stipulate that the action against these Defendants may
be dismissed with prejudice, with each party to bear his or her own costs and attorneys’ fees.
THE PLAINTIFF THE DEFENDANTS

CONSTANCE E. BAGLEY, DOUGLAS RAE, EDWARD SNYDER
and ANDREW METRICK, Individually

 

 

BY: _ /s/Laura R. Studen BY: __/s/ Patrick M. Noonan
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CERTIFICATION

I hereby certify that, on the above-written date, a copy of the foregoing Appearance was
filed electronically and served by mail on anyone unable to accept electronic filing. Notice of
this filing will be sent by e-mail to all parties by operation of the court’s electronic filing system
or by mail to anyone unable to accept electronic filing as indicated on the Notice of Electronic
Filing. Parties may access this filing through the court’s CM/ECF System.

/s/
Laura R. Studen

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